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 7     Attorneys for Plaintiff
       Susan Lindberg
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 9
10                             UNITED STATES DISTRICT COURT
11                          SOUTHERN DISTRICT OF CALIFORNIA
12
              Susan Lindberg,                                    Case No.: 3:16-cv-02988-DMS-
13
                                                                 AGS
14                              Plaintiff,
15            v.
                                                                 NOTICE OF SETTLEMENT
16
17            General Motors Financial
              Company, Inc. d/b/a GM Financial
18            and Able Auto Adjusters, Inc.,
19
                                Defendants.
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     Case 3:16-cv-02988-DMS-AGS Document 15 Filed 05/03/17 PageID.89 Page 2 of 2



 1           NOTICE IS HEREBY GIVEN that this case has been settled in its entirety.
 2     The Plaintiff anticipates filing a Request for dismissal of this action in its
 3     entirety with prejudice within 60 days. Plaintiff requests that all pending dates
 4     and filing requirements be vacated and that the Court set a deadline on or after
 5     July 3, 2017 for filing a request for dismissal.
 6
 7     Respectfully submitted,
 8
 9     Date: May 3, 2017                          HYDE & SWIGART
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11                                                  By: s/ Jessica R. K. Dorman
                                                          Jessica R. K. Dorman
12                                                        Attorneys for Plaintiff
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        NOTICE OF SETTLEMENT                           - 2 of 2 -                3:16-cv-02988-DMS-AGS
